Case 09-10750-MFW Doc1109 Filed 05/17/13 Page 1of2

IN THE UNITED STATES BANKRUPTCY COURT
- FOR THE DISTRICT OF DELAWARE

In re: Chapter 7

Case No. 09-10750 (KIC)

MCC (f/k/a Monaco Coach Corporation),
(Jointly Administered)

et al,

Debtors. Re: D.L ee os

ORDER GRANTING MOTION OF DON TOLNER AND LAURA TOLNER
FOR RELIEF FROM AUTOMATIC STAY

4

the Motion of Don Tolner and Laura Tolner for Relief from

l
AND NOW, this \ } day of 2013, upon consideration of

   
 

 

Automatic Stay (the “Motion”)| ,
and upon further consideration of any objection to the Motion, and the Court finding that (a) it
has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334; (b) this is a core
proceeding pursuant to 28 U.S.C. § 157(b)(2); (c) notice of the Motion was sufficient under the
circumstances and no other or further notice need be provided; (d) a reasonable opportunity to
object or be heard regarding relief requested in the Motion has been afforded to all interested
parties and entities; and (e) the relief requested in the Motion is in the best interests of the
Debtors’ estates; and after due deliberation thereon and sufficient cause appearing therefore, it is .
hereby
| - ORDERED that the Motion is GRANTED; and it is further

| ORDERED that the automatic stay be and hereby is modified to permit Don
Tolner and Laura Tolner to proceed against the Debtors in the case of Roxanne Rodriguez, |

Individually and on Behalf of The Estate of Her Deceased Husband, Jose Luis Leal, and As Next

 

' Capitalized terms have the same meaning ascribed to them in the Motion.

PHDATA 4387984 _1
Case 09-10750-MFW Doc1109 Filed 05/17/13 Page 2 of 2

Friend of JLL and JLL, Ill, Her Minor Children v. Don Tolner, et al., Civil Action No. 7:10-cv-
00025, pending in the United States District Court for the Southern District of Texas through
trial, the entry of final judgment and the disposition of any appeals; and it is further

ORDERED that Don Tolner and Laura Tolner shall be permitted to recover the
amount of any judgment entered against the Debtors from the proceeds of any insurance policies
which insure the Debtors against the claims of Don Tolner and Laura Tolner without the
necessity of obtaining further relief from the automatic stay.
UX Chi A,

HONORABLE vy J. we

2 PHDATA 4387984 |
